B2100ACase    16-21018-CMB
       (Form 2100A) (12/15)            Doc 163      Filed 12/06/20 Entered 12/06/20 14:14:13                         Desc Main
                                                   Document     Page 1 of 1
                                       UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)
IN RE:                                                                Case No.: 16-21018
Debtors: Thomas J. Hayes                                              Loan Number (Last 4):        6252


                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this evidence
and notice.
Federal Home Loan Mortgage Corporation, as Trustee                Specialized Loan Servicing LLC
for the benefit of the Freddie Mac Seasoned Loans
Structured Transaction Trust, Series 2020-1
Serviced by Select Portfolio Servicing, Inc.
Name of Transferee                                                Name of Transferor

PO Box 65250                                                      Court Claim # (if known): 6
Salt Lake City, UT 84165                                          Amount of Claim:          $120,884.21
                                                                  Date Claim Filed:         05/24/2016

Phone: 1-800-258-8602                                             Last Four Digits of Acct #: 2251
Last Four Digits of Acct #: 6252

Name and Address where transferee payments should be sent (if different from above):
Select Portfolio Servicing, Inc.
Attn: Remittance Processing
PO Box 65450
Salt Lake City, UT 84165-0450

Phone:    1-800-258-8602
Last Four Digits of Acct #:     6252



I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
belief.


By:      /s/ John Shelley                                                                 Date:   12/06/2020
         InfoEx, LLC, as authorized filing agent
          (Approved by: Callie Nelson)


Specific Contact Information:
Callie Nelson - BK Specialist
Phone: 1-800-258-8602




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


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